                       Case 1:24-cv-40154-WGY                                      Document 16-3             Filed 02/04/25               Page 1 of 2



                        HABEAS                 CORPUS         ~                 DOCKET NUMBER                          ;
    FOR DETAINEE IN THE CUSTODY OF THE UNITED                                                                       Trial Court of Massachusetts
                 STATES CUSTOM ENFORCEMENT                                            2462CR002055                  District Court Department
                 INSTITUTION'S COPY
DEFENDANT - DETAINEE NAME                                                                      :                    COURT NAME & ADDRESS
 Walter Muchiri                                                                                                     Worcester District Court
                                                                                                                    225 Main Street
DOB                       GENDER                        SSN                           PCF NUMBER                    Worcester,   MA 01608
09/06/2001           | Male                .                      XXX-XX-XXXX                      5629637          (508)831-2010

NAME & ADDRESS             OF INSTITUTION                                                                           NEXT EVENT DATE & TIME


 Plymouth County House of Correction                                                                            Hearing 24 08:00 AM Default Removal
 26 Long Pond Road
 Plymouth, MA                02560                                                                                                   AAAAAAAAAAA


                                                                                                                           DEFENDANT-DETAINEE MUST APPEAR AT
                                                                                                                            ABOVE COURT ON THIS DATE AND TIME

TO THE OFFICIAL IN CHARGE OF THE INSTITUTION NAMED ABOVE:
 You are hereby ORDERED to facilitate the transfer of the defendant - detainee named above, who is presently in your
 custody, béfore this court on the date and time noted above for the event indicated.
 If the defendant - detainee is transferred from your facility prior to the appearance date, please transmit this writ with the
 defendant -detainee to the new facility. If the defendant - detainee is released from custody prior to the appearance date,
 please notify the court immediately. ~
 FURTHER ORDER OF THE COURT:
 The defendant - detainee shall be returned to ICE immediately after the conclusion of the above referenced hearing or ifthe .
 defendant- detainee is taken into custody following the hearing, immediately after the defendant- detainee is released from
 that custody, by the state, county or focal entity having custody of the defendant - detainee at that time.
 The Plymouth County Sheriff shall make the necessary arrangements, including but not limited to providing transportation, to -
 insure the defendant's presence in court for the above-referenced hearing and his or her return to ICE's custody at the
 conclusion of the state's custody.                                          :
ADDITIONAL ORDERS OF THE COURT:
  «IN| PERSON RM 14*%**




   immediately upon issuance of this document, the Clerk shall fax a photocopy of this Habeas Corpus writ to
                  ICE's Massachusetts Field Office at the following fax number = {F84)5359-7629
                        JESTE OF FIRST JUSTICE                              DATE   ISSUED                            SIGNATURP     OF C    -MAGSSTRATH? Asgt.

  WITNESS: Hon. David P Despotopulos                                                        08/14/2024                x                   x VGH



               | certify that:
                C1 | have produced the defendant-detainee named above in court as ordered.

                C1      j am unable to produce the defendant-detainee and | am returning this writ to the court because:



   DATE OF RETURN                   SIGNATURE OF PERSON MAKING RETURN                                                          TITLE OF PERSON MAKING RETURN


                                    x                                                                                          x
 DateTime Printed:   08-14-2024 46:37:01                                                                        ‘          .                                    DCR23: 02/01/2019.
                     Case 1:24-cv-40154-WGY                       Document 16-3                    Filed 02/04/25               Page 2 of 2



                        HABEAS CORPUS                             DOCKET NUMBER                        ;       -
    FOR DETAINEE IN THE CUSTODY OF THE UNITED                               .                                Trial Court of Massachusetts
                 STATES CUSTOM ENFORCEMENT                             24620001107                           District     Court D epartment
                 INSTITUTION'S COPY
DEFENDANT - DETAINEE NAME                                                                                    COURT NAME & ADDRESS
 Walter Muchiri                                                                                               Wercester District Court
       :                            :                                                                        225 Main Street
DOB             GENDER.             SSN                                PGF NUMBER                          | Worcester, MA 01608:
09/06/2001           | Male                         XXX-XX-XXXX                  -   §629637                 (508)831-2010

NAME & ADDRESS OF INSTITUTION                                                                      .         NEXT EVENT DATE & TIME
 Plymouth County House of Correction                                                                        Hearing 24 09:00 AM Default Removal
26 Long Pond Road
 Plymouth, MA 02360                                                                                                         AAAAAAAAAAA
                                                                                                                   DEFENDANT-DETAINEE MUST APPEAR AT
                                                                                                                    ABOVE COURT ON THIS DATE AND TIME

TO THE OFFICIAL IN CHARGE OF THE INSTITUTION NAMED ABOVE:
You are hereby ORDERED to facilitate the transfer of the defendant - detainee named above, who is presently in-your:
custody, before this court on the date and time noted above for the event indicated.
 If the defendant - detainee is transferred from your facility prior to the appearance date, please transmit this writ with the
 defendant -detainee to the new facility. If the defendant -. detainee is released from custody prior to the appearance date, _
 please notify the court immediately.
 FURTHER ORDER OF THE COURT:
The defendant - detainee shall be returned to ICE immediately after the conclusion of the above referenced hearing or if the
defendant - detainee is taken into custody following the hearing, immediately after the defendant - detainee is released from -
that custody, by the state, county or local entity having custody of the defendant - detainee at that time.
The Plymouth County Sheriff shall make the necessary arrangements, including but not limited to providing transportation, to
insure the defendant's presence in court for the above-referenced hearing and his or her return to ICE's custody at the
conclusion of the state's custody,
ADDITIONAL ORDERS OF THE COURT:
  ****IN PERSON RM 14"***


  immediately upon issuance of this document, the Clerk shall fax a photocopy of this Habeas Corpus writ to
                ICE's Massachusetts Field Office at the following fax number: (781}-359-7629
                       TESTE OF FIRST JUSTICE                 DATE ISSUED                                     SIGNATURE @F CLERIMAGISTRATE
                                                                                                                                      Lae

 WITNESS: Hon. David P Despotopulos                                             08/14/2024                    x                V4 sy /



              | certify that:
               Lj | have produced the defendant-detainee named above in court as ordered.

               CJ | am unable to produce the defendant-detainee and | am returning this writ to the court because:


  DATE OF RETURN’              | SIGNATURE OF PERSON MAKING RETURN                                                   TITLE OF PERSON MAKING RETURN



Dale/Time Printed: 08-14-2024 14:39:23              .                                          :                                                     DGR23: 02/01/2019
